                                      Exhibit A
      1.    Delfino Fernandez Abad
      2.    Bryan Alvarado
      3.    Juan Lopez Alvarado
      4.    Anahi Alvarez
      5.    Ramario Navarro Amezcua
      6.    Rosalva Andrade
      7.    Juan Cruz Angeles
      8.    Melinda Ann
      9.    Petronilo Argueta
      10.   Yamir Arismendi
      11.   Evelio Alejandro Bravo Arreaga
      12.   Zilo Arzola
      13.   Jake Atkins
      14.   Rogelio Huertas Aviles
      15.   Pablo Barreras
      16.   Juan Bautista
      17.   Ismael Beltran
      18.   Jennifer Bishop
      19.   Macario Bohorquez
      20.   Timothy Bowlin
      21.   Justin Bussell
      22.   Cecilio Arzola Campos
      23.   Erandi Campos
      24.   Valentin Catalin
      25.   Nayeli Chagala
      26.   Alberto Librado Chavez
      27.   Ricardo Soto Colon
      28.   Victoria Contreras
      29.   Aljeandra Cruz
      30.   Donato Hernandez Cruz



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      31.   Guillimina Cruz
      32.   Luisa Mendoza Cruz
      33.   Margarita Hernandez Cruz
      34.   Maria Cruz
      35.   Donnie Dalton
      36.   Jonathan Davis
      37.   Gina Dean
      38.   Domingo Gregorio Domingo
      39.   C. Spencer England
      40.   Francisco Nuci Estrada
      41.   Juan Silva Estrada
      42.   Pedro Nuci Estrada
      43.   Omar Barcelos Garcia
      44.   Mateo Gomez
      45.   Nicolas Gomez
      46.   Esteban Gonsalez
      47.   Maria Gonsalez
      48.   Augustin Gonzalez
      49.   Elvia Cruz Gonzalez
      50.   Pedro Felipe Gutierrez
      51.   Alejandra Guzman
      52.   Alejandro Guzman
      53.   Jesus Perez Hernandez
      54.   Jose Lucas Hernandez
      55.   Juan Dajui Hernandez
      56.   Juan Lucas Hernandez
      57.   Salvado Huipe
      58.   Martin Arzola Hurtado
      59.   Priscilla Keck
      60.   Tracey Kinningham
      61.   Carl Kinser




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      62.   Gudelia Kinser
      63.   Jason Kinser
      64.   Ponciano Hernandez Lama
      65.   Taylor Lamb
      66.   Victor Leal
      67.   Alberto Libraro
      68.   Esteban Lopez
      69.   Joel Lopez
      70.   Maria Lopez
      71.   Martha Alvarado Lopez
      72.   Marvin Oriel Marroquin Lopez
      73.   Pablo Lopez
      74.   Hollie Luallen
      75.   Juan Manual
      76.   Jose Saul Manuel
      77.   Antonio Garcia Martin
      78.   Gonzalo Chavez Martinez
      79.   Luis Bautista Martinez
      80.   Teresa Martinez
      81.   Adan Mejia
      82.   Mario Mejia
      83.   Adriana Cruz Mendoza
      84.   Carolina Romulo Mendoza
      85.   Ofelia Mendoza Mendoza
      86.   Veronica Perez Mendoza
      87.   Jorge Meraz
      88.   Alma Mercado
      89.   Frank Montalvo
      90.   Joseph Montalvo
      91.   Candelaria Morales
      92.   Esperanza Torres Morales




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      93.    Glendy Morales
      94.    Gloria Mejia Munoz
      95.    Ramiro Narro
      96.    Javier Navarrete
      97.    Juan Nuci
      98.    Hector Ortiz
      99.    Pedro Gomez Pablo
      100.   Carmen (Angela) Pedraza
      101.   Rigobeto Peres
      102.   Daniel Perez
      103.   David Perez
      104.   Esperanza Perez
      105.   Jose Perez
      106.   Virgen Mendoza Perez
      107.   Martha Polido
      108.   Teresa Quezada
      109.   Cesar Ramirez
      110.   Claudio Ramirez
      111.   Cristino Ramirez
      112.   Jesus Ramirez
      113.   Rafial Dario Ramirez
      114.   Mateo Ramos
      115.   Justino Reyes
      116.   Tomas Ricardo
      117.   Vivian Rivas
      118.   Cornelio Roberlo
      119.   Luis Roberto
      120.   Jose Roblero
      121.   Jose Rodas
      122.   Pablo Rodiriquez
      123.   Moses Rodriques




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      124.   Elmis Rodriquez
      125.   Oscar Rojas
      126.   Thomasa Saladon
      127.   Alex Sanchez
      128.   Eugenia Lopez Sanchez
      129.   Raul Sanchez
      130.   Raymonda Lopez Sanchez
      131.   Tomas Sanchez
      132.   Felipe Santizo
      133.   Julio Francisco Santizo
      134.   Alfonso Santos
      135.   Mario Jose Santos
      136.   Fidel Silva
      137.   Santiago Silva
      138.   Zenaido Martinez Silva
      139.   Juan Tiburcio
      140.   Emma Trejo
      141.   Geronimo Guerrero Trejo
      142.   Simon Vargas
      143.   Virginia Vargas
      144.   Marvin Velasquez
      145.   Edward Velediaz
      146.   Reyna Zamorana
      147.   Catarino Zapote
      148.   Cristina Zapote
      149.   Isabel Zelaya
      150.   Maritza Zelaya
      151.   Isabel Zelaya, Sr.




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